Case 2:02-CV-02891-BBD Document 130 Filed 07/14/05 Page 1 of 3 Page|D 146

FH£I!BY D£L
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE USJUL\h AHllSDG
WESTERN DIVISION

 

IHOWS M. GOULD
CLEH'& U.S. DESTHETC&M
JI T coNCEPTS , INC . WlD OF h._-;':MPH!S
Plaintiff,
V` No.= 02-2891-Dv

SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Defendant.

 

ORDER GR.ANTING LEAVE TO FILE REPLY
TO RESPONSE TO MOTION FOR PREJUDGMENT INTEREST

 

This matter is before the Court upon the Motion of the
Plaintiff for leave to file its Reply to Response to Motion for
Prejudgment Interest, and based upon the supporting pleadings and
documents it appears to the Court that the Motion should be
dranted.

Plaintiff's Motion_ for Leave to File Reply to the MED's

Response to Motion for Prejudgment Interest is hereby GRANTED.

 

Thls document entered on the docket sh f ca
with F\u|e 58 and/or 79(a) FF|CP on rt

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 130 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
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Mark S. Norris

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103--246

Thomas W. LeWis

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103--246

Nichole Elizabeth Soule'
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103--246

J eff Smith

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103

Donna L. Boyce

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 3 8103--246

Mary Katherine Hovious

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

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Sherry S. Fernandez

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

Eric J. Plumley

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

J. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Michael G. McLaren

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

1\/lemphis7 TN 38117

Honorable Bernice Donald
US DISTRICT COURT

